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                           UNITED STATES DISTRICT COURT
                        FOR THE EA STERN DISTRICT OF VIRGINIA
                                        Alexandria Division

 UNITED STATES OF AMERICA,

 v.                                                    Criminal Case No. l:18-CR-457 (AJT)

 BIJAN RAFIEKIAN, et al.


                                           AMENDED ORDER

        Upon consideration of Defendant Rafiekian's Motion to Compel Disclosure of Classified

 Material and Ex Parte Statement and for an Extension of Time to File Reply in Support of

 Rafiekian 's Renewed Motion for a New Trial, the memorandum in support thereof, any

 opposition thereto, any reply in further support thereof, and the entire record herein, for good

 cause shown, it is this 27th day ofAugust 2021, hereby

         ORDERED that the Motion is GRANTED; and Defendant file any reply brief by

 October 4, 2021.

 SO ORDERED.
